8:04-cr-00316-LSC-SMB          Doc # 275   Filed: 03/07/08     Page 1 of 2 - Page ID # 919




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:04CR316
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                    ORDER
                                              )
RICHARD GARZA,                                )
                                              )
              Defendant.                      )

       This matter is before the Court on the Defendant’s motion to reduce his sentence

under Amendment 709 (Filing No. 273).

       The Defendant pleaded guilty to Counts I and VIII of the Indictment. Count VIII sets

out a criminal forfeiture offense, and Count I charged Garza with conspiracy to distribute

and possess with intent to distribute 500 grams or more of a mixture or substance

containing methamphetamine. Garza was initially sentenced to 168 months, based on a

total offense level of 30 and placement in criminal history category VI. (Filing Nos. 168,

169.) However, Garza was resentenced to 151 months based on a motion filed under

Federal Rule of Criminal Procedure 35. (Filing No. 238.) Garza’s sentence was affirmed

on appeal. (Filing No. 269.)

       Garza requests a reduced sentence based on changes to § 4A1.2(c) brought about

through Amendment 709. Garza argues that Amendment 709 should lower his criminal

history category from VI to III. Garza argues that 18 U.S.C. § 3582(c)(2) provides authority

for the reduction.

       18 U.S.C. § 3582(c)(2) provides that a sentence can be lowered if the sentencing

range has been lowered by the Sentencing Commission through the process of revising

the sentencing guidelines.      Accordingly, U.S.S.G. § 1B1.10 governs the process of
8:04-cr-00316-LSC-SMB           Doc # 275   Filed: 03/07/08   Page 2 of 2 - Page ID # 920




determining which amendments to the guidelines are retroactive. Because Amendment

709 is not included in the list of retroactive amendments set out in U.S.S.G. § 1B1.10(c),

Garza’s sentence may not be lowered for the reasons raised in his motion. United States

v. Orozco, 2008 WL 505376, at *1 (D. Kan. Feb. 21, 2008); United States v. Cutright, 2008

WL 320515, at *1 (S.D. Ill. Feb. 4, 2008); United States v. Beasley, 2007 WL 4390380, at

*1 (S.D. Ill. Dec. 14, 2007).

       IT IS ORDERED that the Defendant’s motion to reduce his sentence under

Amendment 709 (Filing No. 273) is denied.

       DATED this 7th day of March, 2008.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge




                                             2
